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 8                          UNITED STATES DISTRICT COURT
 9                        SOUTHERN DISTRICT OF CALIFORNIA
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11   RODERICK NAVARRO,                                     Case No. 21-cv-1820-MMA (NLS)
12                                      Plaintiff,
                                                           ORDER GRANTING JOINT
13   v.                                                    MOTION FOR EXTENSION OF
                                                           TIME TO FILE RESPONSE
14   UNITED STATES OF AMERICA, et al.,
15                                  Defendants.            [Doc. No. 5]

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18         On November 16, 2021, Plaintiff and Defendants American Scaffold Holdings,
19   Inc. and International Marine and Industrial Applicators, LLC (collectively,
20   “Defendants”) filed a joint motion to extend the deadline for Defendants to respond to the
21   Complaint. Upon due consideration, good cause appearing, the Court GRANTS the joint
22   motion. Defendants must respond to the Complaint on or before the United States of
23   America’s deadline to respond pursuant to Federal Rule of Civil Procedure 12(a)(2),
24   which is currently December 28, 2021. In the event the Court grants Defendant United
25   States of America an extension of time to respond, Defendants’ deadline shall be further
26   extended commensurate with the United States of America’s deadline. Further, any and
27   all official proceedings of this Court which are based—either statutorily or by Local
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 1   Rule—upon the deadline for a party to file a responsive pleading to the Complaint shall
 2   be extended accordingly.
 3         IT IS SO ORDERED.
 4   Dated: November 16, 2021
 5                                               _____________________________
 6                                               HON. MICHAEL M. ANELLO
 7                                               United States District Judge

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